Case 3:18-cv-00803-GPC-MDD Document 1 Filed 04/10/18 PageID.1 Page 1 of 12




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION
                                                                                      APR     10   2018
   APPLE INC.,
                                                                                 CLERK, US.
                                                                                     DSTRcT COURT
                         Plaintiff,                                              WETERRiCTS
                 V.

                                                          Misc. Action No.
   NOKIA SOLUTIONS AND NETWORKS OY
   AND NOKIA SOLUTIONS AND
   NETWORKS US LLC,                                      A18MC0302                                    LV
                         Defendants.


                APPLE'S MOTION TO COMPEL NOKIA'S COMPLIANCE
               WITH SUBPOENAS DUCES TECUM AND AD TESTIFANDUM

  I.     INTRODUCTION

         The Court should compel Nokia Solutions and Networks Oy Corporation and Nokia

  Solutions and Networks US LLC (collectively, "the subpoenaed Nokia entities") to produce

  documents and provide testimony responsive to Apple's November 2017 subpoenas duces tecum

  and ad testficandum, as narrowed by the parties' meet and confer process.          The subpoenas

  originate from a dispute between Apple and Qualcomm involving Qualcomm's anticonipetitive

  patent licensing practices and the invalidity of certain Qualcomm patents-in-suit. The scope of the

  document requests track the deposition topics.

         Apple served the subpoenas for documents and testimony nearly five months ago. Having

  been served in November, the subpoenaed Nokia entities have failed without adequate excuse to

  obey the subpoenas. See Fed. R. Civ. p. 45(g). Apple can wait no longer.

         The subpoenas seek three categories of documents, each squarely relevant to Apple's

  pending claims and defenses: (1) documents concerning Nokia's standard essential patent portfolio


  APPLE'S MOTION TO COMPEL NOKIA'S COMPLIANCE WITH                                             Page   1


  SUBPOENAS DUCES TECUM AND AD TESTIFANDUM
Case 3:18-cv-00803-GPC-MDD Document 1 Filed 04/10/18 PageID.2 Page 2 of 12




  and the competition in the chipset marketplace; (2) documents concerning certain Qualcomm

  patents that are subject to Apple's declaration of invalidity; and (3) prior art documents. Apple has

  at all times worked in good faith to focus its requests and to minimize the burden on the subpoenaed

  Nokia entities. Yet, months after Apple served its original subpoenas, the subpoenaed Nokia entities

  have declined to produce a single document or identify a representative for depositionrefusing to

  even provide a position as to multiple categories of requests.

         What the subpoenaed Nokia entities have done is channel their efforts into a "moving target"

  strategy to evade and delay compliance with Apple's subpoenas. To wit, Nokia at first objected to

  the scope of several requests as overbroad. Apple in turn worked diligently to narrow those requests,

  ultimately distilling its requests to targeted categories bearing on issues of antitrust and invalidity,

  even dropping numerous requests in an effort to reach compromise. The subpoenaed Nokia entities,

  however, still failed to produce any responsive information. Instead, the subpoenaed Nokia entities

  took the position that "many" relevant documents were only available from its foreign parent

  corporation, Finland-based Nokia Corporation, and that Nokia will provide any responsive

  documents to Apple only after Apple has initiated service through The Hague. When Apple tried

  to reach agreement on this issue, Nokia tried again to renegotiate topic scope, making it clear that

  Apple could not rely on Nokia's voluntary production under The Hague.

         Nokia's latest refusal relies on a corporate shell-game between the subpoenaed Nokia

  entities and their corporate parent,1 but Nokia's diversionary tactics should fail. Public records

  indicate that the subpoenaed Nokia entities are involved in activities that necessitate them having




              2015 Nokia Annual Report, at 192 (identifying the subpoenaed Nokia Solutions and
     See, e.g.,
     Networks US LLC as one of the "significant subsidiaries" of Nokia Corporation), available at
     http://www.nokia.com/sites/default/files/files/nokia
     _form_20-f_201 5_uk.pdf.

  APPLE'S MOTION TO COMPEL NOKIA'S COMPLIANCE WITH                                                Page 2
  SUBPOENAS DUCES TECUM AND AD TESTIFANDUM
Case 3:18-cv-00803-GPC-MDD Document 1 Filed 04/10/18 PageID.3 Page 3 of 12




  access to relevant and responsive information, such as Nokia licenses for Standard Essential Patents,

  records confirming subpoenaed-Nokia Solutions and Networks Oy's ownership of one prior art

  patent that is the subject of Apple's request, and declarations of essentiality concerning patents

  formerly owned by Nokia Corp. Because the requested documents are undeniably relevant, and the

  facts show that at least certain of the requested documents are squarely within the subpoenaed Nokia

  entities' possession, custody, or control, Apple respectfully requests that the Court order the

  production of documents and a witness to provide testimony responsive to Apple's subpoena and

  narrowed requests.

  II.      JURISDICTION

           The Court has jurisdiction under the Federal Rules of Civil Procedure to enforce the

  subpoenas because it is the court where compliance is required. Fed. R. Civ. P. 45(g) (specifying

  that challenges to compliance are to be made to the court for the district where compliance is

  required). The subpoenas indicate compliance is required at the following address:       Ill   Congress

  Ave., Ste 810, Austin. TX 78701. (Exs.     1,   Apple Inc.'s Notice of Subpoena to Nokia Solutions and

  Networks Oy Corporation, and 2, Apple Inc.'s Notice of Subpoena to Nokia Solutions and Networks

  US LLC.) The location for compliance is within the geographical territory of the United States

  District Court for the Western District of Texas. Accordingly, this Court has jurisdiction over the

  subpoenas.2




  2
        It is uncontested that each of the subpoenaed Nokia entities was properly served in compliance
        with Rule 45(b). (Exs. 3, Apple Certificate of Service of Subpoena to Nokia Solutions and
        Networks Oy Corporation, and 4. Apple Certificate of Service of Subpoena to Nokia Solutions
        and Networks US LLC.)

  APPLE'S MOTION TO COMPEL N0KIA's COMPLIANCE WITH                                                Page   3
  SUBPOENAS DUCES TECUM AND AD TESTIFANDUM
Case 3:18-cv-00803-GPC-MDD Document 1 Filed 04/10/18 PageID.4 Page 4 of 12




  III.   FACTUAL BACKGROUND

         Apple served subpoenas with document requests and deposition topics on two Nokia entities

  on November 3rd, 2017. The document requests and corresponding deposition topics spanned three

  general subject matters: (1) Nokia's standard essential patent portfolio and competition in the

  cellular chipset marketplace (including with Qualcomm); (2) ownership and invention documents

  relating to patents at issue in Apple's pending litigation with Qualcomm; and (3) prior art to patents

  at issue in the same litigation. Apple served those requests based on publicly available information

  indicating that the subpoenaed Nokia entities would likely have this information, as reinforced by

  Apple's own dealings with Nokia.

         The subpoenaed Nokia entities served nearly verbatim objections and responses on

  November 30th, 2017. (Exs.     5,   Responses and Objections to Apple Inc.'s Rule     45   Subpoena by

  Nokia Solutions and Networks Oy Corp., and 6, Responses and Objections to Apple Inc.'s Rule 45

  Subpoena by Nokia Solutions and Networks US LLC.) For some requests, the subpoenaed Nokia

  entities committed to producing documents, although none have actually been produced. For other

  requests. the subpoenaed Nokia entities refused to produce documents. And for the remaining

  requests, the subpoenaed Nokia entities did not take a final position, offering instead that each "will

  not search for the full scope of documents requested at this time, but [each entity] is willing to meet

  and confer regarding the scope of this request." Apple promptly engaged the subpoenaed Nokia

  entities to understand what each was willing to produce:

          .      On December 19th the parties held a teleconference. Pertinent to this motion, during

                 that call the subpoenaed Nokia entities demanded, and Apple provided, an

                 explanation of the relevance of each of its document requests.




  APPLE'S MOTION TO COMPEL NOKIAS COMPLIANCE WITH                                                 Page 4
  SUBPOENAS DUCES TECUM AND AD TESTIFANDUM
Case 3:18-cv-00803-GPC-MDD Document 1 Filed 04/10/18 PageID.5 Page 5 of 12




                Following that teleconference, Apple wrote to Nokia on December 26th to

                "summarize[I our understanding" and "confirm that you will conduct a reasonable

                search, produce responsive documents, and designate witnesses for deposition

                topics."    (Ex. 7.)   Apple's letter further limited the document requests by

                withdrawing 7 requests and narrowing the majority of the remaining requests. Apple

                also provided additional explanations of what it was seeking to assist the subpoenaed

                Nokia entities with what Apple understood to be a good-faith search and production

                of documents.

                The subpoenaed Nokia entities intentionally delayed responding for an entire month.

                Rather than produce any documents, they insisted that Apple had now missed a

                deadline for enforcing the subpoenas. (Ex. 8.) The subpoenaed Nokia entities

                asserted that "the local Court is now unlikely to enforce Apple's subpoena" and "[a]s

                a result, Nokia believes, now more than ever, that Apple must limit its requests to

                only what it absolutely needs with the least burden on Nokia if any agreement is to

                be struck." (Id.)

                Apple responded on February 1st to challenge this "Gotcha Gamesmanship" and put

                the subpoenaed Nokia entities on notice that Apple would seek appropriate relief

                from the Court. (Ex. 9.) Apple's letter also appended an exhibit listing the narrowed

                requests.

                Before moving the Court, Apple agreed to confer once more with the subpoenaed

                Nokia entities. That meeting took place on February 6th.

                Afterwards, on February 16th the subpoenaed Nokia entities wrote to Apple that they

                would now "conduct a search for and produce any responsive, non-privileged



  APPLE'S MOTION TO COMPEL NOKIA'S COMPLIANCE WITH                                            Page   5

  SUBPOENAS DUCES TECUM AND AD TESTIFANDUM
Case 3:18-cv-00803-GPC-MDD Document 1 Filed 04/10/18 PageID.6 Page 6 of 12




                 documents so long as Nokia and Apple reach agreement as to the scope of the

                 document requests." (Ex. 10.) Ominously, it was another attempt to renegotiate

                 topic scope, including on topics that Nokia previously agreed on. And there was the

                 added caveat that Apple first "initiate[] service through The Hague" on the Finish

                 corporate parent.

                 Tn   March, pursuant to a discovery coordination order, Apple traveled to Belgium to

                 participate in a deposition of a Nokia witness appearing on behalf of the Finish

                 corporate parent. The deposition was secured by Qualcomm and the Federal Trade

                 Commission, who had also subpoenaed the same Nokia entities. The deposition was

                 an opportunity to simplify the disputed issues at a minimized burden to Nokia, but

                 Nokia instead chose to exclude Apple from deposition scope negotiations and the

                 testimony was ultimately limitedexcluding topics requested in Apple's subpoenas.

         Apple remains willing to further engage in the meet and confer process with the subpoenaed

  Nokia entities, but Apple must preserve its requests for production.

  IV.    ARGUMENT

         A.      Applicable Law

         The Federal Rules of Civil Procedure encourage broad rather than restrictive discovery.

  See STMicroelectronics, Inc.      v.   Motorola, Inc., 308 F. Supp. 2d 754, 756 (E.D. Tex. 2004). The

  scope of discovery is defined by Fed. R. Civ. P. 26(b)(1), which allows for "discovery regarding

  any nonprivileged matter that is relevant to any party's claim or defense and proportional to the

  needs of the case." Federal Rule 45 governs requests for discovery from third parties, and

  mandates the production of relevant documents and things in the responding party's "possession,

  custody, or control."   FED. R.   Civ. P. 45(a)(l)(A)(iii). "[T]he deposition-discovery rules are to be



  APPLE'S MOTION TO COMPEL NOKIA's COMPLIANCE WITH                                                 Page 6
  SUBPOENAS DucEs TECUM AND AD TESTIFANDUM
Case 3:18-cv-00803-GPC-MDD Document 1 Filed 04/10/18 PageID.7 Page 7 of 12




  accorded a broad and liberal treatment to effect their purpose of adequately informing the litigants

  in civil trials." Herbertv. Lando, 441 U.S. 153, 177 (1979).

                   1.    Documents and information regarding any matter that is not
                         privileged and relevant to the claims or defense of any party is
                         discoverable

         The Advisory Committee Notes to the 1970 Amendment to Rule 45 state that the "scope

  of discovery through a subpoena    is the same as that applicable to Rule 34 and other discovery

  rules." Fed. R. Civ. P. 45, Advisory Committee Note (1970). Under Rule 34, the proper scope of

  discovery is as specified in Rule 26(b). See Fed. R. Civ. P. 34; see also Heat & Control, Inc.       v.


  Hester Industries. Inc., 785 F.2d 1017 (Fed. Cir. 1986) ("[Rlule 45(b)(1) must be read    in light   of

  Rule 26(b).").

         Federal Rule 26(b), in turn, permits the discovery of any non-privileged material "relevant

  to the claim or defense of any party," where "relevant information need not be admissible at trial

  if the discovery appears reasonably calculated to lead to the discovery of admissible evidence."

  Fed. R. Civ. P. 26(b)(l).

                   2.    Documents that a party has a practical ability to obtain are within its
                         "possession, custody or control"

         The subpoenaed Nokia entities have admitted to being in possession of responsive

  documents to Apple's subpoenas and should be ordered to produce them to Apple.

         Further, the subpoenaed Nokia entities are in control of additional responsive documents

  that may be in the possession of Nokia Corp. The Fifth Circuit broadly interprets the concept of

  "control" under the Federal Rules. See Kamatani v. BenQ Corp., No. 2:03-CV-437, Dkt. No. 175,

  slip op. at 9-10 (E.D. Tex. Oct. 6, 2005) (Ward, J.); In re Anschuetz & Co., GmbH, 754 F.2d 602,

  607 (5th Cir. 1985), cert. granted, vacated on other grounds, 483 U.S. 1002 (1987), on remand,




  APPLE'S MOTION TO COMPEL NOKIA'S COMPLIANCE WITH                                              Page 7
  SUBPOENAS DUCES TECUM AND AD TESTIFANDUM
Case 3:18-cv-00803-GPC-MDD Document 1 Filed 04/10/18 PageID.8 Page 8 of 12




  838 F.2d 1362 (1988). Other courts and legal scholars are in full accord. See, e.g., 7 JAMES WM.

  MOORE ET AL., MOORE'S FEDERAL PRACTICE ¶ 34.14[2][bI (3d ed. 1997).

           On the issue   of a party's control over documents "in the technical, physical possession of

  a legally distinct entity," the court held in Kamatani that:

           It is well-settled that a party is obligated to produce documents within its control,
           and its obligations are not limited to those documents within the party's physical
           possession. . . . "Control" does not require that a party have legal ownership or
           actual physical possession of the documents at issue; rather, documents are
           considered to be under a party's control for discovery purposes when that party has
           the right, authority, or practical ability to obtain the documents from a nonparty to
           the suit.

  No. 2:03-CV-437, Dkt. No. 175, slip op. at 9-10 (citing Rosie D.       v.   Romney. 256 F. Supp. 2d 115

  (D. Mass. 2003) and Bank ofN. Y.    v.   Meridien BJAO Bank Tanzania Ltd.,     171   F.R.D. 135 (S.D.N.Y.

  1   997)) (emphasis added).    Addressing a similar issue, the Fifth Circuit held with respect to

  documents in the possession of a party's nonparty foreign affiliate that:

           The documents and records that a corporation requires in the normal course of its
           business are presumed to be in its control unless the corporation proves otherwise.
           Any other rule would allow corporations to improperly evade discovery.... [T]he
           fact that documents are situated in a foreign country does not bar their discovery.
  Anschuetz, 754 F.2d at 607 (citing Cooper Industries, Inc.     v.   British Aerospace, Inc., 102 F.R.D.

  918, 919-20 (S.D.N.Y. 1984)). Thus, this Court and the Fifth         Circuitwhere at least one of the
  subpoenaed Nokia entities is locatedencourage broad rather than restrictive discovery where the

  party from whom discovery is sought and its related nonparty foreign entity share a relationship

  under which the former has the "right, authority or the practical ability" to obtain the relevant

  documents sought by the moving party. Furthermore, this Court and the Fifth Circuit presume

  control over such documents where the party from whom discovery is sought utilizes the relevant

  documents in the normal course of its business.




  APPLE'S MOTION TO COMPEL N0KIA's COMPLIANCE WITH                                                   Page   8
  SUBPOENAS DUCES TECUM AND AD TESTIFANDUM
Case 3:18-cv-00803-GPC-MDD Document 1 Filed 04/10/18 PageID.9 Page 9 of 12




          B.      The Requested Documents Are Relevant

          Under Rule 26(a), Fed. R. Civ. P., Apple is entitled to "discovery regarding any

  nonprivileged matter that is relevant to any party's claim or defense and proportional to the needs

  of the case." As confirmed by Nokia's February 16th agreement to "search for and produce any

  responsive, non-privileged documents," there is no dispute that the requested documents are

  relevant.

          For example, document requests 29-3 5 focus on documents showing Nokia's analysis of its

  own portfolio of Standard Essential Patents, as well as documents related to Nokia's agreements

  with Qualcomm. As part of its prayer for relief, Qualcomm has requested a declaration that

  Qualcomm satisfied its FRAND commitments to ETSI during negotiations with Apple. At

  minimum, discovery into the value of Nokia's total patent portfolio and Nokia's agreements with

  Qualcomm may provide a frame of reference for the value of Qualcomm's total patent portfolio,

  and, by extension, guidance as to what would constitute a Fair, Reasonable, and Non-Discriminatory

  offer. These documents can also provide information as to how Nokia itself perceives the value of

  the patents that it divested to Qualcomm.

          Further, two of the Qualcomm patents at issue were originally assigned to Nokia Corp. and

  the subject matter of those patents is credited to Nokia Corp. inventors. Document requests 10-16,

  18-21, 23, 25, and 27-28 relate to these Qualcomm-assigned patents.

          Lastly. Nokia Corp. was the original assignee of two patents related to the same subject

  matter as one of the Qualcomm patents-in-suit. Nokia Solutions and Networks Oy is also the current

  assignee of one of those patents.      Apple expects that technical documents related to the

  authentication techniques described in those patents, including documents from the named

  inventors, would include relevant prior art. Document requests 1-3 and 7-9 relate to these Nokia

  prior art patents.

  APPLE'S MOTION TO COMPEL N0KIA's COMPLIANCE WITH                                           Page 9
  SUBPOENAS DUCES TECUM AND AD TESTIFANDUM
Case 3:18-cv-00803-GPC-MDD Document 1 Filed 04/10/18 PageID.10 Page 10 of 12




           C.        The Documents Are Within Nokia's Custody or Control

           The subpoenaed Nokia entities have never stated that they are unable to provide the

   documents Apple is requesting.     Tn   fact, Nokia did not raise the specific nature of this objection until

   nearly two months after Apple served its subpoena. To the contrary, the subpoenaed Nokia entities

   have admitted to being in possession of at least some responsive documents to Apple's subpoenas.

   Moreover, that the subpoenaed Nokia entities are aware of other relevant documents that may

   ultimately be in a Finish entity's possession does not alter the conclusion that those documents too

   are within the subpoenaed Nokia entities' "possession. custody, or control."

           Here, the subpoenaed Nokia entities conceded that they are able to conduct a search for and

   produce documents from their Finish corporate parent. Although the subpoenaed Nokia entities

   conditioned their willingness to do so on Apple having first initiated service through The Hague, it

   is clear that   initiating service through The Hague will not change the subpoenaed entities' control

   over the documents in Finland. Accordingly, if the subpoenaed Nokia entities have control to

   produce the documents before Apple effectuates service through The Hague, then they should be

   compelled to produce the documents        nowwithout further delay.
           Additionally, Apple's experience has revealed the close relationship between the

   subpoenaed Nokia entities and their affiliate companies. For example, as it relates to Nokia's

   licenses covering Standards Essential Patents, at least the licenses that convey rights to the patents

   of the subpoenaed Nokia entities are logically in the control of those entities, regardless of which

   Nokia entity is ultimately the keeper of those licenses.             A contrary result would allow the

   subpoenaed U.S. entities to outsource patent licensing to the corporate parent, and then rely on the

   separation to claim that relevant licenses are outside its control.




   APPLE'S MOTION TO COMPEL N0KIA's COMPLIANCE WTTH                                                    Page 10
   SUBPOENAS DUCES TECUM AND AD TESTIFANDUM
Case 3:18-cv-00803-GPC-MDD Document 1 Filed 04/10/18 PageID.11 Page 11 of 12




   V.     CONCLUSION

          For the foregoing reasons, Apple respectfully requests the Court grant the motion and order

   Nokia to immediately produce all responsive documents.


   Dated: April 10, 201 8                             Respectfully submitted.

                                                      FISH & RICHARDSON P.C.

                                                      By:   /s/DavidM Hofj%nan
                                                            David M. Hoffman
                                                            Texas Bar No. 24046084
                                                            hoffman@fr.com
                                                            One Congress Plaza
                                                            Ill Congress Avenue, Suite 810
                                                            Austin, TX 78701
                                                            Tel: (512) 472-5070
                                                            Fax: (512) 320-8935

                                                      COUNSEL FOR PLAINTIFF, APPLE INC.




   APPLE'S MOTION TO COMPEL NOKIA'S COMPLIANCE WITH                                          Page   11
   SUBPOENAS DUCES TECUM AND AD TESTIFANDUM
Case 3:18-cv-00803-GPC-MDD Document 1 Filed 04/10/18 PageID.12 Page 12 of 12




                                   CERTIFICATE OF SERVICE

          The undersigned hereby certifies that on April 10, 201 8 tile foregoing document was served

   electronically in compliance with Local Rule CV-5(b)(2) upon Defendants' counsel as follows:


    Ryan Koppelman
    ryan.koppelman@alston.com
    ALSTON & BIRD LLP
    1950 University Aye, 5th Floor
    East Palo Alto, CA 94303
    Tel: (650) 838-2000




                                                        /s/ David   M Hoffman
                                                        David M. Hoffman




   APPLE'S MOTION TO COMPEL NOKIA's COMPLIANCE WITH                                          Page 12
   SUBPOENAS DUCES TECUM AND AD TESTIFANDUM
